Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 1 of 23
ISAS (ReyaP6rl7) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as requived by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in § eplember 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (She INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS
7 Shankar M i, Ri h i K Zhang, Uday Ki ella, Manish Potti, Kirst
Melissa Voter Castillo, Prabhabaihu Femandes, Sube aspolateglu ani Sanjay Subramanian me
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant Chester County
(ERCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

C) Attorneys d-irm Napte, Address, and Telephone Number) Attomeys (ff Known)
(©) Susan R. Gross. Sq. p

Law Offices Bernard M. Gross PC
1500 JFK Blvd., Suite 1910

Phila, PA 19102

215-561-3600

II. BASIS OF JURISDICTION (Piace an “x” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintif f
(lor Diversity Cases Only) and One Box for Defendant)
1 U.S. Government "3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 X 1 Incorporated or Principal Place ‘4 "4
of Business In This State
1 2 U.S. Government X4 Diversity Citizen of Another State X2 "2. Incorporated and Principal Place as "Ss
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject ofa = "3 Foreign Nation "6 "6
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of §
[ CONTRACI TORTS FEIT ALTY A Y
7 110 Insurance PERSONAL INJURY PERSONAL INJURY J 625 Drug Related Seizure " 422 Appeal 28 USC 158 1 375 False Claims Act
1 120 Marine "310 Airplane 1 365 Personal Injury - of Property 21 USC 881 |° 423 Withdrawal * 376 Qui Tam (31 USC
1 130 Miller Act 315 Airplane Product Product Liability 1 690 Other 28 USC 157 3729{a))
1 140 Negotiable Instrument Liability 1 367 Health Care/ 1 400 State Reapportionment
1 150 Recovery of Overpayment |' 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 1 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights 1 430 Banks and Banking
1 151 Medicare Act * 330 Federal Employers’ Product Liability 7 830 Patent T 450 Commerce
7-152 Recovery of Defaulted Liability 1 368 Asbestos Personal 1 835 Patent - Abbreviated 1 460 Deportation
Student Loans "340 Marine Injury Product New Drug Application J 470 Racketeer Influenced and
(Excludes Veterans) "345 Marine Product Liability 1840 Trademark Corrupt Organizations
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY [_______ LABOR 7 |__SOCIALSECURITY __] 1 480 Consumer Credit
of Veteran’s Benefits * 350 Motor Vehicle 1 370 Other Fraud 1 710 Fair Labor Standards ” 861 HIA (1395 ff) 1 490 Cable/Sat TV
X 160 Stockholders’ Suits "355 Motor Vehicle 1 371] Truth in Lending Act 1 862 Black Lung (923) 7 850 Securities/Commodities/
J 190 Other Contract Product Liability 1 380 Other Personal 1 720 Labor/Management ' 863 DIWC/DIWW (405(g)) Exchange
1 195 Contract Product Liability |" 360 Other Personal Property Damage Relations 1 864 SSID Title XVI 1 890 Other Statutory Actions
1 196 Franchise Injury 1 385 Property Damage 1 740 Railway Labor Act " 865 RSI (405(g)) 1 891 Agricultural Acts
"362 Personal Injury - Product Liability ' 751 Family and Medical 1 893 Environmental Matters
Medical Malpractice Leave Act J 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONERPETITIONS [1 790 Other Labor Litigation FEDERAL TAX SUITS Act
7 210 Land Condemnation J 440 Other Civil Rights Habeas Corpus: 1 791 Employee Retirement 7 870 Taxes (U.S, Plaintiff 1 896 Arbitration
1 220 Foreclosure 1 441 Voting 1 463 Alien Detainee Income Security Act ot Defendant) 1 899 Administrative Procedure
1 230 Rent Lease & Ejectment J 442 Employment J 510 Motions to Vacate 7 871 1RS—Third Party Act/Review or Appeal of
1 240 Torts to Land J 443 Housing/ Sentence 26 USC 7609 Agency Decision
1 245 Tort Product Liability Accommodations 1 530 General 1 950 Constitutionality of
7 290 All Other Real Property 1 445 Amer, w/Disabilities - ] 1 535 Death Penalty IMMIGRATION State Statutes
Employment Other: 1 462 Naturalization Application
J 446 Amer, w/Disabilities - | 540 Mandamus & Other 1 465 Other Immigration
Other 1 550 Civil Rights Actions
1 448 Education 1 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement
Vv. ORIGIN (Place an “X”’ in One Box Only)
‘Original 1 2 Removed from 1 3  Remanded from 3 4 Reinstated or ' 5 Transferred from 1 6 Multidistrict 1 8 Multidistrict
Proceeding State Court Appetlate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filin
Section !0(b) of the Exchange Act, 15 U.S.C. 78

Brief description of cause:
Verified Shareholder Derivative Complaint for violations of the Exchange Act

VO. REQUESTED IN X)] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P JURY DEMAND: X' Yes 'No

VIII. RELATED CASE(S)

ny nat cite fpetadietional statittes sinless diversi

in).
), and Section 21D of the Exchange Act, 9 US.C., 78u-4(f)

VI. CAUSE OF ACTION

(See instructions): .
IF ANY JUDGE Cc DARNELL JONES, tT /) a DOCKETNUMBER 2:2!cv03876

FOR OFFICE USE [aol ob | oe | C YU /(122

~ J

DATE

Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 2 of 23
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: c/o Susan Gross, Law Offices Bernard M. Gross PC 1500 JFK Bivd., Suite 1910 Phila, PA 19102

Address of Defendant; _ 263 Great Valley Parkway, Malvern, PA 19355
Malvern, PA

Place of Accident, Incident or Transaction:

RELATED CASE, IF ANY:

2:21cv03876 C. DARNELL JONES, II

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No []
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. _ Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ ] No
case filed by the same individual?

I certify that, to my knowledge, the within case [¢] is / (] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

60547

Attorney-at-Law / Pro Se Plaintiff Attorney 1D. # (if applicable)

DATE: |

CIVIL: (Place a V in one category only)
Federal Question Cases: Diversity Jurisdiction Cases:

Indemnity Contract, Marine Contract, and All Other Contracts Insurance Contract and Other Contracts

FELA Airplane Personal Injury

Jones Act-Personal Injury Assault, Defamation

Antitrust Marine Personal Injury

Patent Motor Vehicle Personal Injury
Labor-Management Relations Other Personal Injury (Please specify):
Civil Rights Products Liability

Habeas Corpus Products Liability — Asbestos
Securities Act(s) Cases . All other Diversity Cases

Social Security Review Cases (Please specify): —
All other Federal Question Cases

(Please specify);

DOIOOOOOOOO »

DOOSOOOOOOOO *

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

Susan R. Gross

__, counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought. (l
DATE: FG 29454 ( ly hin | ness - 60547

Attorney-at-Law / Pro Se Plaiptiff Attorney 1D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.{

Civ. 609 (5°2018)

Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 3 of 23

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Melissa Voter : CIVIL ACTION

v
Shankar Musunuri, Ramesh Kumar, Junge Zhang, Uday
Kompella, Manish Potti, Kirsten Castillo, Prabhabathu _
Fernandes, Suha Taspolatoglu, and Sanjay Subramanian : NO.
and
Ocugen, Inc. . a . : : . .
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for

plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiffand all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255, ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e€) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

management cases.) (x)
(f) Standard Management — Cases that do not fall into any one of the other tracks. ) ( )
9/22/21 SUSAN R, GROSS Sw (Un / (y (9
Date Attorney-at-law (Attorney for piainftt
215-561-3600 215-561-3000 susang@bernardmgross.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

American LegalNet, Inc. |
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Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 4 of 23

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

MELISSA VOTER, Derivatively on Behalf of

OCUGEN, INC.,
Plaintiff,

VS.

SHANKAR MUSUNURI, RAMESH
KUMAR, JUNGE ZHANG, UDAY
KOMPELLA, MANISH POTTI, KIRSTEN
CASTILLO, PRABHABATHU
FERNANDES, SUHA TASPOLATOGLU,
AND SANJAY SUBRAMANIAN,

Defendants,
and,
OCUGEN, INC.,
Nominal Defendant.

Plaintiff Melissa Voter (“Plaintiff”), by and through her undersigned counsel, derivatively
on behalf of Nominal Defendant Ocugen, Inc. (“Ocugen” or the “Company”), submits this Verified
Shareholder Derivative Complaint (the “Complaint”). Plaintiff's allegations are based upon her
personal knowledge as to herself and her own acts, and upon information and belief, developed
from the investigation and analysis by Plaintiffs counsel, including a review of publicly available
information, including filings by Ocugen with the U.S. Securities and Exchange Commission

(“SEC”), press releases, news reports, analyst reports, investor conference transcripts, publicly

Index No:

VERIFIED SHAREHOLDER
DERIVATIVE COMPLAINT

DEMAND FOR JURY TRIAL

available filings in lawsuits, and matters of public record.
Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 5 of 23

NATURE OF THE ACTION

1. This is a shareholder derivative action brought in the right, and for the benefit, of
Ocugen against its officers and directors (defined below) seeking to remedy Defendants’ breach

of fiduciary duties.

JURSIDICTION AND VENUE

2. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 in that this
Complaint states a federal question: violations of Sections 10(b) of the Exchange Act. This Court
has supplemental jurisdiction over the state law claims asserted herein pursuant to 28 U.S.C. §
1367(a). This action is not a collusive one to confer jurisdiction on a court of the United States
which it would not otherwise have.

3. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because a
substantial portion of the transactions and wrongs complained of herein occurred in this District,
and Defendants have received substantial compensation in this District by engaging in numerous

activities that had an effect in this District.

PARTIES
A. Plaintiff
4, Plaintiff Melissa Voter is an owner of Ocugen stock during the time when the

Company was issuing false and misleading statements to the market. Plaintiff continues to hold
shares of Ocugen stock to the present.

B. Nominal Defendant

5. Nominal Defendant Ocugen is a Delaware corporation with its principal executive
offices located at 263 Great Valley Parkway, Malvern, Pennsylvania 19355.

Cc. Director Defendants

Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 6 of 23

6. Defendant Shankar Musunuri (“Musunuri”) was the Company’s Chief Executive
Officer (“CEO”), Chairman of the Board of Directors (the “Board”), and Co-Founder of the
Company. Defendant Musunuri has also served as the Co-Founder, CEO and Executive Chairman
of the Board of Ocugen OpCo, Inc. (“OpCo”), a wholly owned subsidiary of Ocugen.

4. Defendant Ramesh Kumar (“Kumar’) has been a member of the Board since
September 2019 and is the Chair of the Board’s Audit Committee and a member of the Nominating
and Corporate Governance Committee. Defendant Kumar also serves as a director of OpCo.

8. Defendant Junge Zhang (“Zhang”) has served as a director of the Company since
September 2019. Defendant Zhang is a member of the Compensation Committee and Chairman
of the Nominating and Corporate Governance Committee. Defendant Zhang also has served as
director of OpCo since May 2015.

9. Defendant Uday Kompella (“Kompella’”) is a Co-Founder of the Company and has
served as a director since September 2019. Defendant Kompella is a member of the Nominating
and Corporate Governance Committee. Defendant Kompella is a Co-Founder and member of the
board of directors since September 2013 of OpCo, which he co-founded with Defendant Musunuri.

10. Defendant Manish Potti (“Potti”) has been a member of the Board since 2019.
Defendant Potti is a member of the Board’s Audit Committee. Defendant Potti also serves as a
member of the board of directors of OpCo.

11. Defendant Kirsten Castillo (“Castillo”) has been a member of the Board since 2020
and Chairman of the Compensation Committee.

12. Defendant Prabhavathi Fernandes (“Fernandes’’) has been a member of the Board
since 2020 and a member of the Compensation Committee.

13. Defendant Suba Taspolatoglu (“Taspolatoglu”) has been a member of the Board
Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 7 of 23

since 2019 and a member of the Audit Committee. Defendant Taspolatoglu is also a member of
the OpCo board of directors.

14. Defendants Musunuri, Kumar, Zhang, Kompella, Potti, Castillo, Fernandes, and
Taspolatoglu are herein referred to collectively as the “Director Defendants”.

Officer Defendant

15. Defendant Sanjay Subramanian (“Subramanian”) was the Company’s Chief
Financial Officer (“CFO”) and Principal Financial Officer at all relevant times.

16. The Director Defendants and Defendant Subramanian are collectively referred to
as the “Defendants”.

THE AUDIT COMMITTEE

17. The Audit Committee assists the Board by providing oversight of the Company’s
financial management, independent auditor and accounting and financial reporting processes, as
well as such other matters as directed by the Board or the Audit Committee Charter. Among other
things, the Audit Committee’s responsibilities include: (i) having sole discretion and direct
responsibility for appointing, evaluating, retaining, compensating, overseeing, evaluating, and,
when necessary, terminating our engagement with the Company’s independent registered public
accounting firm; (1i) discussing with management and the independent registered public
accounting firm the Company’s annual and quarterly financial statements and related disclosures
and preapproving all audit services; (iii) establishing and overseeing compliance with the
Company’s procedures governing treatment of complaints concerning our accounting, internal
accounting controls, or auditing matters, and submissions of confidential, anonymous, employee
concems regarding accounting or auditing matters; (iv) reviewing the Company’s Code of Conduct

and the Company’s compliance with applicable legal requirements, as well as any litigation or
Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 8 of 23

material government investigations, and making corresponding reports to the Board; (v)
overseeing the Company’s risk assessment and risk management processes and the guidelines and
procedures to implement such processes; (vi) reviewing and ratifying all related person
transactions, based on the standards set forth in our Related Person Transaction Policy; and (vii)
preparing the Audit Committee report required to be included in our annual proxy statement.

BACKGROUND

18. The Company is a clinical-stage and biopharmaceutical company which focuses on
the developing gene therapies to cure blindness and developing a COVID-19 vaccine. The
Company’s main developments are a modifier gene therapy platform based on nuclear hormone
receptors (“NHRs”) to generate therapies for patient with inherited retinal diseases (“IRDs”) and
dry age-related macular degeneration (“AMD”).

FALSE AND MISLEADING STATEMENTS

19. On February 2, 2021, the Company issued a press release announcing an agreement
with Bharat Biotech International Limited (“Bharat”), a biotechnology headquartered in
Hyderabad, India. Pursuant to the agreement, the Company obtained an exclusive right and license
under certain of Bharat’s intellectual property rights, with the right to grant sublicenses, to develop,
manufacture and commercialize COVAXIN™, an advanced stage whole-virion inactivated
vaccine candidate/product for the prevention of COVID-19 in humans in the United States of
America (the “February Press Release”). In the press release, the Company stated:

MALVERN, Pa. and HYDERABAD, India, Feb. 02, 2021 (GLOBE NEWSWIRE)
-- Ocugen, Inc., (NASDAQ: OCGN), a biopharmaceutical company focused on
discovering, developing, and commercializing gene therapies to cure blindness
diseases and developing a vaccine to fight COVID-19, and Bharat Biotech, a global
leader in vaccine innovation, today announced they have entered into a definitive
agreement to co-develop, supply, and commercialize Bharat Biotech’s
COVAXIN™, an advanced stage whole-virion inactivated COVID-19 vaccine
candidate, for the United States market.
Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 9 of 23

Under the terms of the agreement, Ocugen will have US rights to the vaccine

candidate and will be responsible for clinical development, regulatory approval

(including EUA) and commercialization for the US market. Bharat Biotech will

supply initial doses to be used in the US upon Ocugen’s receipt of an EUA. In

addition, Bharat Biotech will support the technology transfer for manufacturing in

the US. In consideration for the exclusive license to the US market, Ocugen will

share the profits from the sale of COVAXIN™ in the US market with Bharat

Biotech, with Ocugen retaining 45% of the profits. [Emphasis added].

20. On this news, the Company’s share price increased from a close of $1.81 per share
of Company stock on February 1, 2021, to close at $3.26 per share on February 2, 2021, an increase

of approximately 80.1%.

21. On February 5, 2021, the Company filed a Form 8-K with the SEC (the “February
Form 8-K”). Attached to the Form 8-K as exhibit 99.1 was an investor presentation regarding the
Company’s apparent new mission to “develop a vaccine to save lives from COVID- 19.” The
presentation described in great detail the Covaxin vaccine characteristics, the “unmet need in the

United States” and the Company’s plan to develop and file an Emergency Use Authorization

(“EUA”) with the U.S. Food and Drug Administration (“FDA”):

Completion of Start ol Start of Start of
Animal Studies Phase Phase 2 Phase 3
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with BBIL to Definitive | Planned TCE ee Cah BES RA
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Planned Roll-Out

COVAXIN™ Vaccination Avaitable In US

Start of mass Analysis
Immunization =

yn ACPA

22. On March 19, 2021, the Company filed a Form 10-K with the SEC announcing the
Company’s financial and operating results for the fiscal fourth quarter and fiscal year ended
December 31, 2020 (the “2020 10-K”), which was signed and certified under the Sarbanes Oxley

Act of 2002. Therein, the Company stated:
Case 2:21-cv-04169-CFK Document 1 Filed 09/22/21 Page 10 of 23

OUR STRATEGY

Our product candidates have the potential to save lives from COVID-19 and cure
blindness diseases. We are committed to developing these product candidates and
bringing them to market to serve patients in multiple disease areas. Key elements
of the strategy we employ to accomplish this objective include:

¢ Advancing our COVID-19 vaccine product candidate towards EUA and
commercialization in the United States. We have initiated discussions with the
FDA regarding the development of COVAXIN. COVAXIN has been granted
approval for emergency use in India. A Phase 3 clinical trial is ongoing in India.
COVAXIN demonstrated a vaccine efficacy of 81% in the first interim analysis
of the Phase 3 clinical trial. We intend to advance the development of
COVAXIN towards EUA and ultimately BLA approval in the United States.

KR

COMPETITIVE STRENGTHS

Our key competitive strengths include:

¢ Vaccine Expertise. Key members of our management team and key advisors

possess proven expertise and a track record of success in vaccine development
and commercialization. We have established a vaccine scientific advisory board
composed of leading academic and industry experts with extensive experience
in the vaccine field. We intend to utilize this collective experience to evaluate
the clinical and regulatory path to EUA and commercialization of COVAXIN
in the United States. [Emphasis added].

23. The statements in paragraphs {| 19-22 above were false and/or misleading as well
as failed to disclose material adverse facts about the Company’s business, operations, and
prospects. These statements were false and/or misleading statements and/or failed to disclose that:
(i) the information submitted to the FDA was insufficient to support an EUA, (ii) the Company
would not file an Emergency Use Authorization with the FDA, (iii) as a result of the foregoing,
the Company’s financial statements, as well as the statements about the Company’s business,

operations, and prospects, were false and misleading and/or lacked a reasonable basis.

THE TRUTH EMERGES

24. On June 10, 2021, the Company issued a press release announcing that it would
Case 2:21-cv-04169-CFK Document 1 Filed 09/22/21 Page 11 of 23

pursue a “biologics license application” (“BLA”) with the FDA instead of the previously
announced EUA (the “June 2021 Press Release”). The press release stated:
Ocugen to pursue a BLA path in the US for its COVID-19 vaccine candidate

* Company intends to work with the FDA towards filing a Biologics License
Application (BLA) in the US

* Company to engage with Health Canada to seek authorization under Interim
Order for use in Canada

MALVERN, PA, June 10, 2021 — Ocugen, Inc. (NASDAQ: OCGN) (Company),
a biopharmaceutical company focused on discovering, developing, and
commercializing gene therapies to cure blindness diseases and developing a
vaccine to save lives from COVID-19, today announced that upon recommendation
from the U.S. Food and Drug Administration (FDA), it will pursue submission of
a biologics license application (BLA) for its COVID-19 vaccine candidate,
COVAXIN™. The Company will no longer pursue an Emergency Use
Authorization (EUA) for COVAXIN™,

The FDA provided feedback to Ocugen regarding the Master File the Company
had previously submitted and recommended that Ocugen pursue a BLA
submission instead of an EUA application for its vaccine candidate and requested
additional information and data, Ocugen is in discussions with the FDA to
understand the additional information required to support a BLA submission.
The Company anticipates that data from an additional clinical trial will be
required to support the submission.

“Although we were close to finalizing our EUA application for submission, we
received a recommendation from the FDA to pursue a BLA path. While this will
extend our timelines, we are committed to bringing COVAXIN™ to the US. This
differentiated vaccine is a critical tool to include in our national arsenal given its
potential to address the SARS-CoV-2 variants, including the delta variant, and
given the unknowns about what will be needed to protect US population in the long
term,” said Dr. Shankar Musunuri, Chairman of the Board, Chief Executive Officer,
and Co-founder of Ocugen. Ocugen recently announced that it secured exclusive
rights to commercialize COVAXIN™ in Canada and has initiated discussions with
Health Canada for regulatory approval. The Company will pursue expedited
authorization for COVAXIN™ under the Interim Order Respecting the
Importation, Sale and Advertising of Drugs for Use in Relation to COVID-19 in
Canada.

“In clinical trials to date, the emerging safety profile of COVAXIN™ is supportive
of it being generally well tolerated with a good safety profile, with Ministry of
Health and Family Welfare of Republic of India reporting no potential
Case 2:21-cv-04169-CFK Document 1 Filed 09/22/21 Page 12 of 23

thromboembolic events following the administration of over 6.7 million doses of

COVAXIN™ in that country,” said Dr. Bruce Forrest, Acting Chief Medical

Officer and member of the vaccine scientific advisory board of Ocugen. [Emphasis

added].

25. On the release of the news, the Company’s share price declined from $9.31 per
share of the Company stock on June 9, 2021, to close at $6.69 per share on June 10, 2021, a drop
of approximately -28.14 percent.

DAMAGES TO THE COMPANY

26. As a direct and proximate result of Defendants’ conduct, the Company has been

seriously harmed and will continue to be. Such harm includes, but is not limited to:

e Legal fees incurred in connection with the Securities Class Action (defined below);
° Any funds paid to settle the Securities Class Action; and
e Costs incurred from compensation and benefits paid to the defendants who have

breached their fiduciary duties to the Company.

27. In addition, the Company’s business, goodwill, and reputation with regulators and
shareholders have been gravely impaired. The credibility and motives of management are now in
serious doubt.

28. The actions complained of herein have damaged the Company’s corporate image
and goodwill. For at least the foreseeable future, the Company will suffer from what is known as
the “liar’s discount,” a term applied to the stocks of companies who have been implicated in
misleading the investing public, such that the Company’s ability to raise equity capital or debt on
favorable terms in the future is now impaired.

DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

29. Plaintiff brings this action derivatively in the right and for the benefit of the

Company to redress injuries suffered and to be suffered as a direct and proximate result of the
Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 13 of 23

breaches of fiduciary duties by Defendants.

30. Plaintiff will adequately and fairly represent the interests of the Company and its
shareholders in enforcing and prosecuting its rights and has retained counsel competent and
experienced in derivative litigation.

31. Plaintiff is a current owner of Ocugen and has continuously been the owner of the
Ocugen stock during all times relevant to the illegal and wrongful course of conduct alleged herein.
Plaintiff understands her obligation to hold Ocugen stock throughout the duration of this action
and is prepared to do so.

32. During wrongful course of conduct at the Company, the Board consisted of
Defendants Musunuri, Kumar, Zhang, Kompella, Potti, Castillo, Fernandes, and Taspolatoglu.
Because of the facts set forth throughout this Complaint, demand on the Board to institute this
action is not necessary because such a demand would have been a futile and useless act as
discussed below.

33, Defendants face a substantial likelihood of liability in this action because they
caused the Company to issue false and misleading statements concerning its future prospects.
Because of his advisory, executive, managerial, and directorial positions with the Company,
Defendants had knowledge of material non-public information regarding the Company and was
directly involved in the operations of the Company at the highest levels.

34. Defendants either knew or should have known of the false and misleading
statements that were issued on the Company’s behalf and took no steps in a good faith effort to
prevent or remedy that situation.

35. Defendants cannot exercise independent objective judgment about whether to bring

this action or whether to vigorously prosecute this action. For the reasons that follow, and for

10
Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 14 of 23

reasons detailed elsewhere in this Complaint, Plaintiff has not made (and should be excused from
making) a pre-filing demand on the Board to initiate this action because making a demand would
be a futile and useless act.

36. Defendants approved and/or permitted the wrongs alleged herein to have occurred
and participated in efforts to conceal or disguise those wrongs from the Company’s unitholders or
recklessly and/or with gross negligence disregarded the wrongs complained of herein and are
therefore not disinterested parties.

37. Defendants authorized and/or permitted the false statements to be disseminated
directly to the public and made available and distributed to unitholders, authorized and/or
permitted the issuance of various false and misleading statements, and are principal beneficiaries
of the wrongdoing alleged herein, and thus, could not fairly and fully prosecute such a suit even if
they instituted it.

38. Because of their participation in the gross dereliction of fiduciary duties, and
breaches of the duties of due care, good faith, and loyalty, Defendants are unable to comply with
their fiduciary duties and prosecute this action.

DEFENDANTS ARE NOT INDEPENDENT OR DISINTERESTED

Defendant Musunuri

39, Defendant Musunuri is the Chairman of the Board, CEO and a Co-Founder of the
Company, and therefore is not independent under NASDAQ listing rules. As CEO, Defendant
Musunuri is an employee of the Company, and thus could not disinterestedly consider a demand
for action that might require him to sue the directors that control his continued employment and/or
fellow members of management with whom he works on a day-to-day basis. Moreover, as alleged

herein, Defendant Musunuri personally issued the misleading statements alleged herein and is

11
Case 2:21-cv-04169-CFK Document 1 Filed 09/22/21 Page 15 of 23

named as a defendant in the securities class action entitled Nicanor v. Ocugen, Inc., et al., No. 21-
cv-012725 (E.D. Pa.) (the “Securities Class Action”). As a result, Defendant Musunuri would be
interested in a demand regarding his own wrongdoing and demand is futile as to him.

Defendants Musunuri and Kompella

40. Musunuri and Kompella could not disinterestedly consider a demand because they
co-founded the Company.

Defendants Kumar, Potti, and Taspolatoglu

41. Defendants Kumar, Potti, and Taspolatoglu served as members of the Audit
Committee at all relevant times. As such, they are responsible for the effectiveness of the
Company’s internal controls, the integrity of its financial statements, and its compliance with laws
and regulations. As alleged herein, Kumar, Potti, and Taspolatoglu failed to ensure the integrity of
the Company’s internal controls, allowing the materially misleading financial statements to be
disseminated in the Company’s SEC filings and other disclosures. Thus, Kumar, Potti, and
Taspolatoglu breached their fiduciary duties and are not interested, and demand is excused as to
them.

Defendant Kumar

42. Kumar is also a member of the board of OpCo, a wholly-owned subsidiary of the
Company along with Musunuri, and Kompella.
COUNT I

Against Defendants for Breach of Fiduciary Duties

43. Plaintiff incorporates by reference and re-alleges each and every allegation
contained above, as though fully set forth herein.

44. Defendants owe the Company fiduciary obligations. By reason of their fiduciary

12
Case 2:21-cv-04169-CFK Document 1 Filed 09/22/21 Page 16 of 23

relationships, Defendants owed and owe the Company the highest obligation of good faith, fair
dealing, loyalty, and due care.

45. Defendants violated and breached their fiduciary duties of care, loyalty, reasonable
inquiry, and good faith.

46. As a direct and proximate result of Defendants’ failure to perform their fiduciary
obligations, the Company has sustained significant damages. Asa result of the misconduct alleged
herein, Defendants are liable to the Company.

47.  Asadirect and proximate result of Defendants’ breach of their fiduciary duties, the
Company has suffered damage, not only monetarily, but also to its corporate image and goodwill.
Such damage includes, among other things, costs associated with defending securities lawsuit,
severe damage to the unit price of the Company, resulting in an increased cost of capital, the waste
of corporate assets, and reputational harm.

COUNT II

Against Defendants for Unjust Enrichment

48. _ Plaintiff incorporates by reference and re-alleges each and every allegation set forth
above, as though fully set forth herein.

49. By their wrongful acts, violations of law, and false and misleading statements and
omissions of material fact that they made and/or caused to be made, the Defendants were unjustly
enriched at the expense of, and to the detriment of, Ocugen.

50. The Defendants either benefitted financially from the improper conduct, including
from the receipt of bonuses, unit options, or similar compensation from the General Partner that
was tied to the performance or artificially inflated valuation of Ocugen, or received compensation

that was unjust in light of the Defendants’ bad faith conduct.

13
Case 2:21-cv-04169-CFK Document 1 Filed 09/22/21 Page 17 of 23

51. Plaintiff, as a stockholder and representative of Ocugen, seeks restitution from the
Defendants and seeks an order from this Court disgorging all profits, including from benefits and
other compensation, including any performance-based or valuation-based compensation, obtained
by the Defendants due to their wrongful conduct and breach of their fiduciary and contractual
duties.

52. __ Plaintiff, on behalf of Ocugen, has no adequate remedy at law.

COUNT III

Against Defendants for Abuse of Control

53. Plaintiffincorporates by reference and re-alleges each and every allegation set forth
above, as though fully set forth herein.

54. Defendants’ misconduct constituted an abuse of their ability to control and
influence the Company.

55. As a direct and proximate result of Defendants’ abuse of control, the Company
sustained significant damages. As a result of the misconduct alleged herein, Defendants are liable
to the Company.

COUNT IV

Against Defendants for Waste of Corporate Assets

56. Plaintiff incorporates by reference and re-alleges each and every allegation set forth
above, as though fully set forth herein.

57. Asaresult of the foregoing, and by failing to properly consider the interests of the
Company and its public Unit holders, Defendants have caused Ocugen to waste valuable corporate
assets, to incur many millions of dollars of legal liability and costs to defend unlawful actions, to

engage in internal investigations, and to lose financing from investors and business from future

14
Case 2:21-cv-04169-CFK Document 1 Filed 09/22/21 Page 18 of 23

customers who no longer trust the Company and its products.

58. As a result of the waste of corporate assets, Defendants are each liable to the
Company.
59. Plaintiff, on behalf of Ocugen, has no adequate remedy at law.
COUNT V

(Against Defendants Musunuri and Subramanian for
Contribution for Violations of Sections 10(b) and 21D of the Exchange Act)

60. Plaintiff incorporates by reference and realleges each and every allegation
contained above, as though fully set forth herein.

61. Defendants Musunuri and Subramanian are named as defendants in related
securities class action. The conduct of these defendants, as described herein, has exposed the
Company to significant liability under various federal and state securities laws by their disloyal
acts.

62. The Company is named as a defendant in related Securities Class Action that
alleges and asserts claims arising under § 10(b) of the Exchange Act. The Company is alleged to
be liable to private persons, entities and/or classes by virtue of many of the same facts alleged
herein. If the Company is found liable for violating the federal securities laws, the Company’s
liability will arise in whole or in part from the intentional, knowing, or reckless acts or omissions
of all or some of the Defendants as alleged herein, who have caused the Company to suffer
substantial harm through their disloyal acts. The Company is entitled to contribution and
indemnification from these Defendants in connection with all claims that have been, are, or may
be asserted against the Company by virtue of their wrongdoing.

63. As officers, directors and otherwise, Defendants Musunuri and Subramanian had

the power or ability to, and did, control or influence, either directly or indirectly, the Company’s

15
Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 19 of 23

general affairs, including the content of its public statements, and had the power or ability to
directly or indirectly control or influence the specific corporate statements and conduct that
violated § 10(b) of the Exchange Act and SEC Rule 10b-5.

64. Defendants Musunuri and Subramanian are liable under § 21D of the Exchange
Act, which governs the application of any private right of action for contribution asserted pursuant
to the Exchange Act.

65. Defendants Musunuri and Subramanian have damaged the Company and are liable
to the Company for contribution.

66. No adequate remedy at law exists for Plaintiff by and on behalf of the Company.

REQUEST FOR RELIEF

WHEREFORE, Plaintiff demands judgment as follows:

A. Determining that this action is a proper derivative action maintainable under law,
and that demand is excused;

B. Awarding, against Defendants and in favor of the Company, the damages sustained
by the Company as a result of Defendants’ breaches of his fiduciary duties;

C. Directing the Company to take all necessary actions to reform and improve its
corporate governance and internal procedures, to comply with the Company’s existing governance
obligations and all applicable laws and to protect the Company and its investors from a recurrence
of the damaging events described herein;

D. Awarding Plaintiff judgment on each and every Count;

En Awarding to Plaintiff the costs and disbursements of the action, including
reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

F, Granting such other and further relief as the Court deems just and proper.

16
Case 2:21-cv-04169-CFK Document 1 Filed 09/22/21 Page 20 of 23

JURY DEMAND

Plaintiff demands a trial by jury on all issues so triable.
DATED: September 21, 2021
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Attorneys for Plaintiff

17
Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 21 of 23

VERIFICATION

I, MELISSA VOTER, am a plaintiff in the within action. I have reviewed the allegations
made in this Verified Shareholder Derivative Complaint, know the contents thereof, and authorize
its filing. To those allegations of which I have personal knowledge, I believe those allegations to
be true. As to those allegations of which I do not have personal knowledge, I rely upon my counsel
and their investigation and believe them to be true.

I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct. Executed this @\ day of September 2021

\. { Y x. \ APs hu \ »
MELISSA VOTER

Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 22 of 23

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

CIVIL ACTION

NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. (_ )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(ce) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. ( )
Date Attorney-at-law Attorney for
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

American LegalNet, Inc. ‘
www FormsWorkFlow.com

Case 2:21-cv-04169-CFK Document1 Filed 09/22/21 Page 23 of 23

Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b) In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.

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